  Case: Case
        22-50740    Document: 00516434157
             1:21-cv-00892-RP              Page:08/16/22
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                                                                 August 16, 2022
                   United States Court of Appeals             CLERK, U.S. DISTRICT COURT
                                                              WESTERN DISTRICT OF TEXAS
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK                          JMV
                                                           BY: ________________________________
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LYLE W. CAYCE                                                 TEL. 504-310-7700
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                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                             August 16, 2022
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 22-50740     Hogan v. Aspire Financial
                       USDC No. 1:21-CV-892

The court has taken the following action in this case: The appeal
is dismissed as erroneously docketed.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Charles B. Whitney, Deputy Clerk
                                  504-310-7679
Mr. Philip Devlin
Ms. Kimberly D. Hogan
